Filing Case 1:18-cv-23343-DPG
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                    IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
                            IN AND FOR MIAMI-DADE COUNTY, FLORIDA


        MOISES DAVID ESCOTO ROJAS and                                   CASE:
        EMMA ROJAS,

                      Plaintiffs,
        vs.

        CITY OF MIAMI POLICE OFFICER
        SHIELA BELFORT, individually,
        MARIA CABRERA GONZALEZ, and
        THE CITY OF MIAMI, a municipal corporation,

                    Defendants.
        ________________________/

                                                COMPLAINT

               Plaintiffs, MOISES DAVID ESCOTO ROJAS and EMMA ROJAS, sue the Defendants,

        Police Officer SHIELA BELFORT, individually, MARIA CABRERA GONZALEZ, The CITY

        OF MIAMI, a Municipal Corporation, and allege:

                                       JURISDICTION AND VENUE

               1.     This is an action for damages in excess of $15,000.00, exclusive of costs and

        interest, and a civil rights claim pursuant to 42 U.S.C. § 1983 and the Fourth, Fifth and

        Fourteenth Amendments to the United States Constitution and the Florida Constitution.

               2.     Venue is proper because all causes of action accrued in Miami-Dade County.

                                                THE PARTIES

               3.     Plaintiffs MOISES DAVID ESCOTO ROJAS (hereafter “Moises”) and EMMA

        ROJAS (hereafter “Emma”) at the time of the allegations of this complaint were citizens of the

        state of Florida over the age of majority, residing in Miami-Dade County, Florida.
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          4.      At all times material to the allegations contained in this Complaint, Defendant

   OFFICER SHIELA BELFORT was a citizens of the State of Florida, and employed by the CITY

   OF MIAMI as a police officer with the City of Miami Police Department.

          5.      Defendant MARIA CABRERA GONZALEZ at the time of the allegations of this

   complaint was a citizen of the State of Florida.

                                                FACTS

          6.      On or about June 9, 2014, around 7:30 a.m. Moises was driving westbound on

   SW Seventh Street in Miami, Florida when he noticed a marked City of Miami police vehicle

   behind him.

          7.      Moises was driving below the speed limit, had not changed lanes improperly, had

   not nearly caused an accident, and had the correct tag on his vehicle.

          8.      Moises’s car was in good condition, with no impairments or defects that would

   warrant a citation.

          9.      As Moises continued to drive cautiously, the police vehicle pulled up next to him

   and proceeded to drive next to him at the same speed.

          10.     Moises is Hispanic. Police Officer SHELIA BELFORT (hereafter “Belfort”), who

   was driving the police vehicle, profiled him as Hispanic, and then pulled him over.

          11.     Belfort was wearing a City of Miami uniform with City of Miami police insignia

   and a duty belt with a firearm.

          12.     Officer Belfort’s domestic partner and girlfriend, MARIA CABRERA

   GONZALEZ (hereafter “Gonzalez”) was seated in the front passenger seat of the police vehicle.




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              13.   Gonzalez was dressed like a detective, in plain clothes, with a police badge

   visibly hanging from a chain around her neck that identified her as a City of Miami police

   officer.

              14.   Gonzalez was also visibly wearing a firearm at her waist.

              15.   Gonzalez was not a police officer.

              16.   Upon being pulled over, Moises immediately called his mother, but did not get

   through. He then called his friend William, whom he knew from church.

              17.   Gonzalez got out of the passenger side of the police vehicle, approached Moises,

   and asked for his license and registration.

              18.   Moises gave her his registration and Honduras driver license.

              19.   Gonzalez asked why he had a Honduras license and not a Florida license.

              20.   Moises responded that he was undocumented.

              21.   Gonzalez immediately told him that she was going to call U.S. immigration

   officials to have him deported.

              22.   Gonzalez ordered Moises out of his car.

              23.   Officer Belfort got out of the police vehicle, gave handcuffs to Gonzalez, and told

   Gonzalez to arrest Moises.

              24.   Gonzalez placed the cuffs on Moises, and placed him in the back of the police

   vehicle.

              25.   Belfort and Gonzalez got back in the police vehicle, with Moises.

              26.   Moises speaks Spanish and very little English. Gonzalez spoke with Moises in

   Spanish and translated for Belfort.

              27.   In the police vehicle, Belfort handed Gonzalez a black, school-type notebook.




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          28.     Gonzalez, prompted by Belfort, asked Moises for his mother’s name, phone

   number, and address.

          29.     Moises provided the information, and Gonzalez wrote the information in the

   notebook.

          30.     Gonzalez then called Moises’s mother, Emma Rojas. Emma, however, did not

   answer.

          31.     Meanwhile, elsewhere, Moises’s friend William called Emma and told her Moises

   had been detained. Emma and her niece, Katya Damendia, drove to the location of the stop.

          32.     Emma arrived on scene, saw her son in the back of the police vehicle and asked

   Gonzalez if she could speak with him.

          33.     Gonzalez prohibited Emma from speaking with Moises.

          34.     Emma started crying. Her other son had been murdered in Honduras thirteen

   years earlier, and she was afraid Moises might now be deported to Honduras, one of the most

   violent countries in the world.

          35.     Emma fainted, and Gonzalez and Officer Belfort mocked her as being overly

   dramatic.

          36.     Though Emma and her niece could have arranged to take Moises’s vehicle,

   Belfort called a tow truck and had Moises’s car towed. See Exhibit (“Ex.”), Police Department

   Vehicle Storage Receipt.

          37.     Belfort subsequently drove Moises and Gonzalez to the City of Miami police

   station at 2200 W Flagler St, Miami, FL 33135.

          38.     Belfort pulled into the parking lot and dropped off Gonzalez, who got into a Black

   Mercedes Benz owned by Belfort. See Ex. B, Affidavit in Support of Arrest Warrant.




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           39.      After driving away in the Mercedes, Gonzalez contacted Emma and demanded

   $2,400 to free her son.

           40.      Moises had previously paid a fine for improper fishing, but Gonzalez informed

   Emma that the fishing charge would be a basis for deportation.

           41.      Gonzalez presumably obtained information about that charge from Officer Belfort

   or by looking herself through the Florida Department of Law Enforcement’s Driver And Vehicle

   Information Database (DAVID), on the police computer in Belfort’s police vehicle.

           42.      Emma was from Honduras and all too familiar with the rampant and violent

   police corruption in that country. At the time, Honduras was renowned for its corruption and had

   the highest murder rate in the world.1 Her other son had been murdered in Honduras thirteen

   years earlier. And now she was being extorted by someone she believed to be a detective. This

   was a nightmare, her blood pressure spiked, and she was terrified of the consequences to Moises.

           43.      After speaking with Gonzalez, Emma desperately contacted family and friends to

   round up the $2400 to free her son.

           44.      Meanwhile, Officer Belfort drove Moises on an extended tour of the city.

           45.      Soon after leaving the first police station parking lot, Belfort took him to the

   downtown City of Miami police station and placed him in a holding cell for approximately

   fifteen minutes.

           46.      She then put him back in her police vehicle.

           47.      City of Miami Police Department Departmental Order 16.4.21.8 (valid through

   October 2013) for transporting prisoners mandated: “Transporting officers will stop to respond to

   the need for law enforcement services only when the risk to third parties is both clear and grave,

   1
    For an overview of police corruption, including extrajudicial killings, see World Report 2014: Honduras, Events of
   2013, Human Rights Watch, https://www.hrw.org/world-report/2014/country-chapters/honduras (last visited June 4,
   2018).


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   and the risk of injury to the prisoner or opportunity of escape is minimal.” See Ex. C, City of

   Miami Police Department Departmental Orders (Current through October 2013) (hereafter

   “Departmental Orders”).

          48.      Yet, Officer Belfort subsequently stopped, with Moises in her vehicle, on Flagler

   Street and spent approximately 45 minutes chatting with an officer who had detained a couple,

   despite any risk of grave injury to any third parties.

          49.     Later Belfort took Moises to another police station, on Coral Way, where he was

   cuffed to a bench for approximately ten minutes while Belfort spoke with another officer.

          50.     Belfort then put Moises back in her car and continued transporting him all over

   town as she continued with her shift.

          51.     City of Miami police department order 16.4.21.2 for transporting prisoners

   mandates: “Prisoners will be transported directly to a police station or a Miami-Dade Jail or

   holding facility. If there is a delay in transporting, or another destination, supervisory approval is

   required.” See Ex. C, Departmental Orders.

          52.     Moises had been detained at 7:30 a.m., formally arrested at 7:45 a.m., and at

   approximately 4:15 p.m., over eight hours later, Belfort finally transported him to Turner

   Guilford Knight Correctional Facility (hereafter “TGK”), where he was booked.

          53.     Belfort did not provide him with lunch or any other food. And she repeatedly

   ignored his requests, in English, to use a bathroom.

          54.     Moises spent over seven and a half hours in the back of Belfort’s police car with

   his hands cuffed behind his back, with two ten to fifteen minute breaks.

          55.     This posture was excruciatingly painful, caused numbness in his arms and

   shoulders, and resulted in permanent, chronic pain in his shoulders to this day.




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          56.     Moises was arrested for driving without a valid license, and cited for no proof of

   insurance, tag not assigned to vehicle, and failing to signal when changing lanes almost causing

   an accident. See Ex. D, Arrest Affidavit, Citations, Incident Report.

          57.     Meanwhile, Emma, terrified as to the state of her son, got together the money

   demanded, and met with Gonzalez, and paid her $2,400.

          58.     Much later in the day, Moises’s girlfriend learned that Moises had been booked,

   realized that the police were not going to release Moises, and posted his bond.

          59.     On June 10, 2014, the day after the incident, Moises and Emma filed a complaint

   with the City of Miami Police Department’s Internal Affairs division. See Ex. E, Letters from

   City of Miami Internal Affairs Section.

          60.     On or about August 27, 2014, Moises attended a court hearing for the traffic

   violations.

          61.     As Moises was leaving the courthouse, Officer Belfort and Immigration and

   Customs Enforcement (hereafter “ICE”) agents were waiting outside for Moises. Belfort

   identified Moises to the agents, who then arrested him for an immigration violation.

          62.     In other words, Belfort attempted to get rid of the key witness against her.

          63.     Indeed, Moises was held in ICE custody and deported to Honduras.

          64.     Because of his removal from the U.S. by ICE, Moises was hampered in any

   efforts to take legal action against Officer Belfort and Gonzalez.

          65.     On or about February 20, 2016, Gonzalez was arrested, and the State of Florida

   charged Gonzalez with two felonies: Grand Theft Third Degree (§ 812.014(2)(C), Fla. Stat.) and

   Falsely Personate an Officer in the Commission of a Felony (§ 843.08, Fla. Stat.), in case




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   F16002841. See Ex. B, Affidavit in Support of Arrest Warrant; Ex. F, State Attorney Office

   Bond Hearing Notes and Information.

          66.     On March 11, 2016 Gonzalez pled guilty, was adjudicated guilty, and was

   sentenced to credit time served (21 days) and one year community control followed by four years

   probation. Sentencing requirements included: no ride alongs with law enforcement, and no work

   or volunteering where she would wear a uniform indicating any form of public trust. See Ex. G,

   Judgment and State Attorney Case File Sentencing Notes.

          67.     Gonzalez, as part of her plea, paid Emma $2,400 in restitution. See Ex. G, State

   Attorney Case File Sentencing Notes and Restitution Check.

          68.     Upon information and belief, neither the State of Florida nor the City of Miami

   has taken action again Officer Belfort.

                                              Count 1
             INTENTIONAL INFLICTION OF SEVERE EMOTIONAL DISTRESS
                 State tort claim: Plaintiff Emma Rojas v. Defendant Gonzalez

          69.     Plaintiff re-alleges and incorporates by reference paragraphs 1 through 68.

          70.     On or about June 9, 2014, defendant Gonzalez intentionally inflicted emotional

   distress on Emma.

          71.     When Emma arrived on the scene of the arrest, she spoke with Gonzalez and

   requested to speak with her son in the car. When she was refused access to her son, Emma

   became distraught and fainted. Gonzalez laughed at Emma, and mocked and ridiculed her as

   being overly dramatic.

          72.     Later, Gonzalez repeatedly contacted Emma on the phone and met with her in

   person and continually threatened that if she did not pay money, her son would not be released.

   And when Emma paid Gonzalez, Gonzalez demanded additional money. Gonzalez’s threats were

   designed to strike fear in Emma, so that she would pay for her son’s release.


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              73.   Gonzalez’s conduct of impersonating an officer by riding in a police vehicle and

   wearing a police badge and a gun, threatening to have Emma’s son deported, and demanding

   money from Emma to procure her son’s release was extreme and outrageous.

              74.   Gonzalez’s conduct caused Emma severe emotional distress. As a result of

   Gonzalez’s actions, Emma experienced dangerously high blood pressure, intense panic, intense

   fear, and post-traumatic stress (PTSD) in that Emma now panics whenever she sees a police

   officer.

              75.   Emma is entitled to punitive damages, compensatory damages, actual damages,

   reasonable attorney fees and court costs, damages for pain and suffering, nominal damages

   and/or any other remedies the court deems appropriate.

                                         Count 2
    FRAUD, FRAUDULENT MISREPRESENTATION & FRAUD IN THE INDUCEMENT
             State Tort Claim: Plaintiff Emma Rojas v. Defendant Gonzalez

              76.   Plaintiff re-alleges and incorporates by reference paragraphs 1 through 68.

              77.   On or about June 9, 2014, defendant Gonzalez committed the torts of fraud,

   fraudulent misrepresentation and fraud in the inducement against Plaintiff Emma Rojas.

              78.   On or about June 9, 2014, defendant Gonzalez fraudulently misrepresented herself

   to Emma as a police officer. Gonzalez knew that she was not a police officer and that her

   representation was false.

              79.   Gonzalez made the representation intending for Emma to rely upon it and to

   induce Emma to give her money.

              80.   Emma believed that Gonzalez was an officer, and relying on her

   misrepresentation, paid Gonzalez $2,400, to her detriment, to obtain the release of her son,

   Moises, and avoid additional harm to Moises.




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            81.   Gonzalez never intended to procure Moises’s release, and Moises was booked at

   TGK and deported.

            82.   As a result of this misrepresentation, Emma provided Gonzalez with $2,400 that

   Gonzalez was not entitled to.

            83.   As a result of this misrepresentation, on June 9, 2014 Emma experienced high

   blood pressure, intense panic, and fear during the hours she tried to obtain money and negotiated

   with Gonzalez.

            84.   As a direct and proximate result of this misrepresentation, Emma suffers post-

   traumatic stress disorder (PTSD) in that Emma now panics whenever she sees a police officer.

            85.   Emma in entitled to damages, including interest, punitive damages, compensatory

   damages, actual damages, nominal damages, damages for pain and suffering, reasonable attorney

   fees and court costs, and/or any other remedies the court deems appropriate.

                                              Count 3
                                         CONVERSION
                  State Tort Claim: Plaintiff Emma Rojas v. Defendant Gonzalez

            86.   Plaintiff re-alleges and incorporates by reference paragraphs 1 through 68.

            87.   On or about June 9, 2014, defendant Gonzalez converted to her own use $2,400

   that was then the property of plaintiff Emma Rojas.

            88.   Emma had a right to the property in that friends and family voluntarily gave her

   the $2,400.

            89.   Gonzalez misconducted herself intentionally when she falsely represented herself

   as a police officer and by means of extortion unlawfully threatened and coerced Emma to pay the

   money.

            90.   Emma subsequently filed an internal affairs complaint with City of Miami,

   seeking return of the money.


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          91.     On or about February 20, 2016, Gonzalez was arrested and charged with grand

   theft for stealing Emma’s money.

          92.     Gonzalez entered a not guilty plea, and still refused to return the $2,400.

          93.     On or about March 11, 2016, Gonzalez plead guilty to grand theft, for stealing the

   $2,400 from Emma.

          94.     As part of her criminal plea, Gonzalez paid Emma $2,400 in restitution.

          95.     Gonzalez did not pay Emma any interest.

          96.     Emma is entitled to damages, including interest, punitive damages, compensatory

   damages, actual damages, nominal damages, reasonable attorney fees and court costs, and/or any

   other remedies the court deems appropriate.

                                             Count 4
                                            BATTERY
                     State Tort Claim: Plaintiff Moises v. Defendant Gonzalez

          97.     Plaintiff re-alleges and incorporates by reference paragraphs 1 through 68.

          98.     On or about June 9, 2014, Gonzalez battered Moises.

          99.     On that day, Moises had been pulled over for alleged traffic violations, none of

   which were felonies.

          100.    Gonzalez was unlawfully impersonating a police officer and had no legal

   authority to detain Moises.

          101.    Gonzalez intentionally placed handcuffs on Moises and placed him in the back of

   Belfort’s police vehicle.

          102.    Moises, believing Gonzalez was a police officer, did not consent to being cuffed

   and otherwise touched by Gonzalez.

          103.    Gonzalez’s conduct was offensive to Moises, who was simply trying to go to

   work, and had no desire to be cuffed and manhandled.


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           104.    Gonzalez cuffed Moises with his hands behind his back.

           105.    Gonzalez’s cuffing Moises behind his back was not only uncomfortable at first,

   but harmful in that it contributed to the excruciating pain and numbness Moises later felt that day

   in his shoulders and arms.

           106.    As a direct and proximate result of Gonzalez’s cuffing, Moises developed

   permanent, chronic pain in his arms and shoulders.

           107.    Moises is entitled to damages, including punitive damages, compensatory

   damages, actual damages, nominal damages, damages for pain and suffering, reasonable attorney

   fees and court costs, and/or any other remedies the court deems appropriate.

                                               Count 5
                                      FALSE IMPRISONMENT
                       State Tort Claim: Plaintiff Moises v. Defendant Gonzalez

           108.    Plaintiff re-alleges and incorporates by reference paragraphs 1 through 68.

           109.    On or about June 9, 2014, Gonzalez falsely imprisoned Moises.

           110.    On that day, Moises had been pulled over for alleged traffic citations, none of

   which were felonies.

           111.    Nevertheless, Gonzalez, who was not a police officer but was impersonating an

   officer, demanded Moises’s license and registration, threatened to have him deported, ordered

   him out of his vehicle, placed him in handcuffs, and put him in the back of the police vehicle.

           112.    Gonzalez acted against Moises’s will, as Moises had zero desire to be ordered out

   of his car, placed in cuffs and put in the back of a police car.

           113.    In taking these actions, Gonzalez unlawfully restrained Moises and detained him

   against his will.

           114.    Gonzalez took these measures maliciously in order to subsequently extort

   Moises’s family for money.


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            115.   Moises was terrified when Gonzalez threatened to have him deported, ordered

   him out of the car, cuffed him, and placed him in the back of the police car.

            116.   As a result of Gonzalez’s actions, Moises was deported to Honduras, where his

   wages are significantly less than what he was earning on June 2014. In Miami he was earning

   $5,500 to $6,000 per month installing marble and tiles. Now in Honduras he earns $300 per

   month.

            117.   Moises suffered indignity and humiliation in being falsely imprisoned by

   Gonzalez.

            118.   The cuffs were also extremely uncomfortable, and it was extremely

   uncomfortable when Gonzalez placed him in the back of the police vehicle with his hands cuffed

   behind his back.

            119.   Her cuffing him resulted in excruciating pain and numbness in his arms and

   shoulders that day, and was that direct and proximate cause of the pain Moises continues to

   experience in his shoulders and arms today.

            120.   Moises is entitled to damages, including punitive damages, compensatory

   damages, actual damages, nominal damages, damages for pain and suffering, reasonable attorney

   fees and court costs, and/or any other remedies the court deems appropriate.

                                             Count 6
            DEPRIVATION OF PROPERTY WITHOUT DUE PROCESS UNDER THE
                FOURTEENTH AMENDMENT OF THE U.S. CONSTITUTION
                42 U.S.C. § 1983 claim: Plaintiff Emma Rojas v. Defendant Belfort

            121.   Plaintiff re-alleges and incorporates by reference paragraphs 1 through 68.

            122.   Pursuant to 42 U.S.C. § 1983, Officer Belfort violated Emma’s Fourteenth

   Amendment rights under the U.S. Constitution when, acting under color of authority, she




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   conspired, schemed, and acted in concert with Gonzalez to deprive Emma of her property,

   $2,400, without due process of law.

          123.      Belfort was acting under color of authority.

          124.      On June 9, 2014, Officer Belfort was a City of Miami police officer, on duty,

   when she pulled over Emma’s son, Moises, at 7:30 a.m.

          125.      Belfort was driving a marked police vehicle provided to her by the City of Miami.

          126.      Belfort was wearing a police uniform with insignia identifying her as a City of

   Miami police officer, a uniform she was required to wear while on duty.

          127.      Belfort was wearing a duty belt with a firearm, which she was required to wear

   while on duty.

          128.      Belfort acted in concert with Gonzalez to extort money from Emma.

          129.      When Moises was pulled over, Belfort’s domestic partner, Gonzalez, was in the

   front seat of Belfort’s police vehicle.

          130.      Belfort had invited Gonzalez to be in the car with her, without authorization from

   anyone else at the police department.

          131.      Belfort knew that Gonzalez was not a police officer.

          132.      Belfort knew and could see that Gonzalez was wearing a police badge around her

   neck and that Gonzalez was openly wearing a firearm in her waistband.

          133.      Gonzalez was openly carrying a firearm in violation of Florida law, a second

   degree misdemeanor.

          134.      As part of their scheme, Belfort gave Gonzalez permission to be in her car,

   impersonating an officer.




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           135.    Belfort would later tell investigators that she needed Gonzalez to translate for her,

   because Belfort did not speak Spanish.

           136.    Belfort did not explain why her translator needed to dress as an officer and

   illegally carry a firearm.

           137.    Upon stopping Moises, Belfort permitted and encouraged Gonzalez to act as a

   police officer and approach Moises’s car and ask for license and registration.

           138.    Belfort permitted Gonzalez to order Moises out of the car, even though Moises

   had committed no felony.

           139.    Belfort gave her handcuffs to Gonzalez and permitted Gonzalez to handcuff

   Moises.

           140.    Belfort permitted Gonzalez to place Moises in the back of her police car.

           141.    Belfort permitted Gonzalez to call from the car Emma, Moises’s mother.

           142.    Belfort gave Gonzalez a notebook to write Emma’s name, address and phone

   number.

           143.    Belfort drove Gonzalez and Moises to a police substation parking lot and dropped

   off her purported translator.

           144.    Belfort watched Gonzalez get into a Mercedes Benz registered to Belfort.

           145.    Belfort told investigators that after she dropped off Gonzalez, she took Moises to

   TGK.

           146.    It appears Belfort failed to mention that she drove Moises around for over seven

   and a half hours, until approximately 4:15 p.m., when she finally took Moises to TGK to be

   booked, after Gonzalez had extorted $2,400 from Emma.




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          147.    Belfort allowed Gonzalez to call Moises’s mother in the police car in order to

   extort money, and not for the purpose of having Emma come get Moises’s car. Despite Emma’s

   arrival on the scene of the arrest, Belfort had Moises’ car towed.

          148.    Belfort subsequently learned that Moises and his mother filed a complaint against

   her with the City of Miami Department of Internal Affairs.

          149.    Later, on August 27, 2014, when Moises went to court to settle his citations,

   Belfort called ICE, came to court, and pointed out Moises to ICE agents, so that they might arrest

   him and deport him.

          150.    In other words, Belfort not only retaliated against Moises for filing the complaint,

   but sought to get rid of him—the key witness against her—by having him deported to Honduras.

          151.    Belfort ignored City of Miami police departmental orders when she drove Moises

   around for over seven hours without obtaining permission from a supervisor before taking

   Moises to TGK. She also ignored orders when she stopped to talk with an officer for 45 minutes

   with Moises in the back of the car, and when there was no risk of danger to third parties.

   Keeping Moises in the car over seven hours, without getting him food, and without letting him

   use the bathroom, violated departmental orders and points to Belfort’s true intent, which was to

   detain Moises herself until Gonzalez could extract money from her prisoner’s mother.

          152.    Belfort and her accomplice Gonzalez together extorted $2,400 from Emma,

   without due process.

          153.    Emma is entitled to damages, including punitive damages, compensatory

   damages, actual damages, nominal damages, damages for pain and suffering, reasonable attorney

   fees and court costs, and/or any other remedies the court deems appropriate.




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                                                Count 7
                                           CONVERSION
                    State tort claim: Plaintiff Emma Rojas v. Defendant Belfort

           154.   Plaintiff re-alleges and incorporates by reference paragraphs 1 through 68.

           155.   On or about June 9, 2014, Officer Belfort conspired, schemed and acted in concert

   with Gonzalez to convert to her and Gonzalez’s use $2,400 that was then the property of plaintiff

   Emma Rojas.

           156.   Emma had a right to the property in that friends and family lent her the $2,400.

           157.   Belfort acted in concert with Gonzalez to extort money from Emma.

           158.   Belfort planned and schemed with Gonzalez to extort money, and drove Gonzalez

   in her police vehicle that morning on June 9, 2014 with the intention of pulling over a driver who

   was in the country illegally and extorting his or her family for money.

           159.   Gonzalez had a gambling problem, which Belfort knew about.

           160.   Belfort and Gonzalez cooked up this scheme to pay off Gonzalez’s gambling

   debt.

           161.   The plan called for Belfort to drive around the prisoner while Gonzalez, who

   spoke Spanish, contacted the prisoner’s family and extorted money.

           162.   Belfort thus invited Gonzalez into her police vehicle and allowed and encouraged

   Gonzalez to impersonate a police officer.

           163.   Belfort knew well that Gonzalez, her domestic partner, was not a police officer or

   any sort of government agent authorized to make arrests.

           164.   Yet Belfort permitted and encouraged Gonzalez to approach Moises’s vehicle,

   and question Moises to ascertain if the driver was in fact an illegal immigrant.

           165.   Once Gonzalez determined that Moises had no Florida license and only a

   Honduras passport, Belfort instructed Gonzalez to arrest Moises.


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          166.    Belfort gave Gonzalez handcuffs.

          167.    Gonzalez placed the cuffs on Moises and placed him in the back of the police

   vehicle.

          168.    Belfort provided Gonzalez with a notebook.

          169.    Gonzalez asked Moises for the name, address and phone number of his mother.

          170.    Gonzalez wrote down this information in the notebook.

          171.    Gonzalez then, with Belfort’s approval and encouragement, tried to call Emma.

          172.    Gonzalez, however, did not get through.

          173.    Belfort later drove Gonzalez and Moises to a police substation parking lot, where

   she dropped off Gonzalez, and waited as Gonzalez got into Belfort’s Black Mercedes.

          174.    Earlier, Belfort had either looked for Moises’s priors in the DAVID computer

   system herself, or authorized and encouraged Gonzalez to look in the system.

          175.    Either way, with Belfort’s help or authorization, Gonzalez learned that Moises

   had been previously cited for illegal fishing.

          176.    Belfort wanted Gonzalez to have this information, to assist with the shakedown.

          177.    Indeed, Gonzalez bolstered the threat of deportation by informing Emma that her

   son could be deported because of the prior fishing incident.

          178.    While Gonzalez engaged with Emma to extort the money, Belfort drove Moises

   around in her police vehicle, against regulations, for over seven hours, affording her accomplice

   time to contact Emma, who in turn needed time to gather money from family and friends.

          179.    Only once Gonzalez obtained the money did Belfort drive Moises to TGK to be

   booked.




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          180.    On June 10, 2014, Emma and Moises filed an internal affairs complaint with City

   of Miami, seeking return of the money.

          181.    On or about February 20, 2016, Belfort’s accomplice, Gonzalez, was arrested and

   charged with grand theft for stealing Emma’s money, and entered a not guilty plea.

          182.    While the criminal case was pending, Gonzalez refused to return the $2,400.

          183.    On the day after the incident, Belfort was made aware that Moises had gone to the

   police and complained about the money taken from his family.

          184.    Yet Belfort did nothing to return the $2,400 she had conspired and schemed to

   extort and convert to her and Gonzalez’s use.

          185.    On or about March 11, 2016, Gonzalez plead guilty to grand theft, for stealing the

   $2,400 from Emma.

          186.    As part of her criminal plea, Gonzalez paid Emma $2,400 in restitution.

          187.    Neither Gonzalez nor Belfort paid Emma any interest.

          188.    Emma is entitled to damages, including interest, punitive damages, compensatory

   damages, actual damages, nominal damages, damages from pain and suffering, reasonable

   attorney fees and court costs, and/or any other remedies the court deems appropriate.

                                          Count 8
    FRAUD, FRAUDULENT MISREPRESENTATION & FRAUD IN THE INDUCEMENT
              State tort claim: Plaintiff Emma Rojas v. Defendant Belfort

          189.    Plaintiff re-alleges and incorporates by reference paragraphs 1 through 68.

          190.    On or about June 9, 2014, Officer Belfort conspired, schemed and acted in concert

   with Gonzalez to extort money from Emma, and as part of this scheme Belfort fraudulently

   misrepresented that her accomplice was a police officer and induced Emma to hand over money

   to Gonzalez.




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              191.   Belfort knew that Gonzalez was not a police officer and that representing

   Gonzalez as a police officer was false.

              192.   When Emma showed up on the scene of the arrest, Belfort encouraged Gonzalez

   to represent herself as a police officer and acted as if Gonzalez was a police officer.

              193.   Belfort and Gonzalez pretended Gonzalez was a police officer so that Emma

   would rely upon that belief later on when Gonzalez would contact Emma to extort money from

   her.

              194.   Because Belfort was wearing a full uniform and had a marked police vehicle, and

   treated Gonzalez as if she were a police officer, Emma believed that Gonzalez was in fact an

   officer.

              195.   Emma relied on Belfort and Gonzalez’s misrepresentation, and thus paid

   Gonzalez $2,400, to her detriment, to obtain the release of her son, Moises, and avoid additional

   harm to Moises.

              196.   Belfort never intended to release Moises, and Moises was booked at TGK and

   deported.

              197.   As a result of this misrepresentation, Emma provided Belfort $2,400 through

   Belfort’s conspirator Gonzalez.

              198.   As a result of this misrepresentation, on June 9, 2014 Emma experienced

   dangerously high blood pressure, intense panic, and fear during the hours she negotiated with

   Gonzalez and tried to obtain money.

              199.   As a direct and proximate result of this misrepresentation, Emma suffers post-

   traumatic stress disorder (PTSD) in that Emma was traumatized and now panics whenever she

   sees a police officer.




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          200.    Emma in entitled to damages, including interest, punitive damages, compensatory

   damages, actual damages, nominal damages, damages for pain and suffering, reasonable attorney

   fees and court costs, and/or any other remedies the court deems appropriate.

                                              Count 9
              INTENTIONAL INFLICTION OF SEVERE EMOTIONAL DISTRESS
                  State tort claim: Plaintiff Emma Rojas v. Defendant Belfort

          201.    Plaintiff re-alleges and incorporates by reference paragraphs 1 through 68.

          202.    On or about June 9, 2014, Officer Belfort conspired, schemed and acted in concert

   with Gonzalez to extort money from Emma, and as part of this scheme intentionally inflicted

   emotional distress on Emma.

          203.    At all times material to this incident, Gonzalez was Belfort’s accomplice.

          204.    Belfort and Gonzalez concocted a scheme to pull over a driver, ascertain that he

   or she was an illegal immigrant, and then extort money from the driver’s family.

          205.    On June 9, 2014, Belfort and Gonzalez carried out their scheme.

          206.    Belfort invited Gonzalez into her police vehicle and allowed and encouraged

   Gonzalez to impersonate a police officer.

          207.    Belfort knew well that Gonzalez, her domestic partner, was not a police officer or

   any sort of government agent authorized to make arrests.

          208.    Yet Belfort permitted and encouraged Gonzalez to approach Moises’s vehicle,

   and question Moises to ascertain if the driver was in fact an illegal immigrant.

          209.    Once Gonzalez determined that Moises had no Florida license and only a

   Honduras passport, Belfort instructed Gonzalez to arrest Moises.

          210.    Belfort gave Gonzalez handcuffs.

          211.    Gonzalez placed the cuffs on Moises and placed him in the back of the police

   vehicle.


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          212.    Belfort provided Gonzalez with a notebook.

          213.    Gonzalez asked Moises for the name, address and phone number of his mother.

          214.    Gonzalez wrote down this information in the notebook.

          215.    Gonzalez then, with Belfort’s approval and encouragement, tried to call Emma.

          216.    Gonzalez, however, did not get through.

          217.    Belfort later drove Gonzalez and Moises to a police substation parking lot, where

   she dropped off Gonzalez, and waited as Gonzalez got into Belfort’s Black Mercedes.

          218.    While Gonzalez engaged with Emma to extort the money, Belfort drove Moises

   around in her police vehicle, against regulations, for over seven hours, affording her accomplice

   time to contact Emma, who in turn needed time to gather money from family and friends.

          219.    Only once Gonzalez obtained the money did Belfort drive Moises to TGK to be

   booked.

          220.    Belfort and Gonzalez acted recklessly or intentionally.

          221.    When Emma arrived on the scene of the arrest, she spoke with Gonzalez and

   requested to speak with her son in the car. When she was refused access to her son, Rojas

   became distraught and fainted. Gonzalez and Belfort laughed at Emma, and mocked and

   ridiculed her as being overly dramatic.

          222.    Later, as part of their scheme, Gonzalez repeatedly contacted Emma on the phone,

   met with her in person, and continually threatened that if she did not pay money, her son would

   not be released. And when Emma paid Gonzalez, Gonzalez demanded additional money,

   sparking further fear in Emma. Gonzalez’s threats, as planned with Belfort, were designed to

   strike fear in Emma, so that she would pay for her son’s release.




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          223.    To bolster the threat, Belfort and Gonzalez schemed that Belfort or Gonzalez

   would obtain information about any priors the pulled-over-driver had by going into the DAVID

   database through the onboard computer in Belfort’s police vehicle .

          224.    Belfort provided Gonzalez with information about Moises’s prior fishing citation

   and/or allowed Gonzalez to access the DAVID system herself to gain such information, so that

   Gonzalez could bolster their threat to have Moises deported. Such information was intentionally

   used to strike fear in Emma.

          225.    Belfort allowed and encouraged Gonzalez to impersonate an officer by wearing a

   police badge and a gun. Belfort invited Gonzalez into her police vehicle and drove her around in

   order to carry out their scheme. Belfort’s actions in concert with Gonzalez, which include

   mocking Emma after she passed out, threatening to have Emma’s son deported, and demanding

   money from Emma to procure her son’s release were extreme and outrageous.

          226.    Belfort’s actions in concert with Gonzalez’s conduct caused Emma severe

   emotional distress.

          227.    On June 9, 2014 Emma experienced dangerously high blood pressure, intense

   panic, and fear during the hours she tried to obtain money and negotiated with Belfort’s

   accomplice Gonzalez.

          228.    As a direct and proximate result of Belfort and Gonzalez’s concerted actions,

   Emma suffers post-traumatic stress disorder (PTSD) in that Emma was traumatized and now

   panics whenever she sees a police officer.

          229.    Emma is entitled to punitive damages, compensatory damages, actual damages,

   damages for emotional pain and suffering, reasonable attorney fees and court costs, nominal

   damages and/or any other remedies the court deems appropriate.




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                                          Count 10
        USE OF EXCESSIVE FORCE AND CRUEL AND INHUMANE TREATMENT
        UNDER THE FOURTEENTH AMENDMENT OF THE U.S. CONSTITUTION
                42 U.S.C. § 1983 claim: Plaintiff Moises v. Defendant Belfort

          230.      Plaintiff re-alleges and incorporates by reference paragraphs 1 through 68.

          231.      Pursuant to 42 U.S.C. § 1983, Officer Belfort violated Moises’s Fourteenth

   Amendment due process rights under the U.S. Constitution when, acting under color of

   authority, she used excessive force.

          232.      Belfort was acting under color of authority.

          233.      On June 9, 2014, Officer Belfort was a City of Miami police officer, on duty,

   when she pulled over Emma’s son, Moises, at 7:30 a.m.

          234.      Belfort was driving a marked police vehicle provided to her by the City of Miami.

          235.      Belfort was wearing a police uniform with insignia identifying her as a City of

   Miami police officer, a uniform she was required to wear while on duty.

          236.      Belfort was wearing a duty belt with a firearm, which she was required to wear

   while on duty.

          237.      Belfort used excessive force against Moises.

          238.      City of Miami police department orders require that prisoners be transported

   directly to a police station or a Miami-Dade Jail or holding facility. See, e.g., Ex. C,

   Departmental Order 16.4.21.2. If there is a delay in transporting, or another destination,

   supervisory approval is required. Id.

          239.      Belfort ignored the departmental orders and for all but approximately 30 minutes

   of her over eight hour custody of Moises on June 9, 2014, kept him in her police car, with his

   hands cuffed behind his back.




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          240.    Having his arms and shoulders in this posture was excruciatingly painful. His

   arms and shoulders also became numb.

          241.    Keeping him in this posture for that long was unnecessary.

          242.    Moises had no violent priors.

          243.    Belfort could have left him at a police station in a holding cell, where he would

   not have been cuffed behind his back.

          244.    Belfort could have taken him to TGK, where he would not have been cuffed

   behind his back.

          245.    Moises had no pain in his shoulders prior to June 9, 2014 but has had strong pains

   in his shoulders and arms since that day.

          246.    Keeping him in her car this way for that long was cruel and inhumane, as Belfort

   only did so to gain time while her partner Gonzalez extorted money from Moises’s mother.

          247.    It appears that no supervisor signed off on Belfort’s keeping Moises in her police

   car for any extended period of time.

          248.    Belfort also cruelly and inhumanely prohibited Moises from using a toilet, despite

   his repeated demands.

          249.    City of Miami Police Department Departmental Order (Current through October

   2013) 16.4.21.7 states that “Stopping for prisoners to use toilet facilities or to eat is prohibited

   unless approved by a supervisor. Then, the facility will be chosen at random with security of the

   prisoner in mind.”

          250.    Had Belfort dropped off Moises at TGK or a police station, Moises would have

   had access to a restroom, and lunch.




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          251.      Belfort made no attempt to get a supervisor’s permission to take Moises to an

   external restroom or food vendor because she knew what she was doing was wrong.

          252.      Moises is entitled to damages, including punitive damages, compensatory

   damages, actual damages, nominal damages, damages for pain and suffering, reasonable attorney

   fees and court costs, and/or any other remedies the court deems appropriate.

                                         Count 11
         VIOLATION OF MOISES’S EQUAL PROTECTION RIGHTS UNDER THE
             FOURTEENTH AMENDMENT OF THE U.S. CONSTITUTION
               42 U.S.C. § 1983 claim: Plaintiff Moises v. Defendant Belfort

          253.      Plaintiff re-alleges and incorporates by reference paragraphs 1 through 68.

          254.      Pursuant to 42 U.S.C. § 1983, Officer Belfort violated Moises’s Fourteenth

   Amendment equal protection rights when she pulled up next to him, observed that he was

   Hispanic, and pulled him over without probable cause.

          255.      Belfort was acting under color of authority.

          256.      On June 9, 2014, Officer Belfort was a City of Miami police officer, on duty,

   when she pulled over Emma’s son, Moises, at 7:30 a.m.

          257.      Belfort was driving a marked police vehicle provided to her by the City of Miami.

          258.      Belfort was wearing a police uniform with insignia identifying her as a City of

   Miami police officer, a uniform she was required to wear while on duty.

          259.      Belfort was wearing a duty belt with a firearm, which she was required to wear

   while on duty.

          260.      Belfort claims she pulled Moises over because he improperly changed lanes

   almost causing an accident and because the tag did not match the vehicle.

          261.      In fact, the tag did match the vehicle, and Moises had not changed lanes

   improperly and/or nearly caused an accident.



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           262.    Because Belfort profiled Moises as Hispanic, hoping he was an illegal immigrant

   whose family could easily be extorted for fear of deportation, Moises was painfully and

   excruciatingly handcuffed behind his back over seven and a half hours, and suffers permanent

   pain in his shoulders as a result.

           263.    As the direct and proximate result of Belfort’s profiling Moises and violating his

   equal protection rights under the Fourteenth Amendment of the U.S. Constitution, Moises was

   deported and earns significantly less in Honduras than he did in the U.S.

           264.    Moises is entitled to damages, including punitive damages, compensatory

   damages, actual damages, economic damages, damages for pain and suffering, nominal damages,

   reasonable attorney fees and court costs, and/or any other remedies the court deems appropriate.

                                        Count 12
       ILLEGAL DETENTION AND ARREST WITHOUT CAUSE IN VIOLATION OF
         MOISES’S RIGHTS UNDER THE FOURTH, FIFTH AND FOURTEENTH
                    AMENDMENTS OF THE U.S. CONSTITUTION
               42 U.S.C. § 1983 Claim: Plaintiff Moises v. Defendant Belfort

           265.    Plaintiff re-alleges and incorporates by reference paragraphs 1 through 68.

           266.    Pursuant to 42 U.S.C. § 1983, Officer Belfort violated Moises’s Fourth, Fifth and

   Fourteenth Amendment rights under the U.S. Constitution when, acting under color of authority,

   she pulled him over without cause.

           267.    Belfort was acting under color of authority.

           268.    On June 9, 2014, Officer Belfort was a City of Miami police officer, on duty,

   when she pulled over Emma’s son, Moises, at 7:30 a.m.

           269.    Belfort was driving a marked police vehicle provided to her by the City of Miami.

           270.    Belfort was wearing a police uniform with insignia identifying her as a City of

   Miami police officer, a uniform she was required to wear while on duty.




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          271.      Belfort was wearing a duty belt with a firearm, which she was required to wear

   while on duty.

          272.      Belfort claims she pulled Moises over on June 9, 2014 because he improperly

   changed lanes, almost causing an accident, and because his tag did not match his vehicle.

          273.      In fact, the tag did match the vehicle, and Moises had not changed lanes

   improperly and/or nearly caused an accident.

          274.      Had she not pulled Moises over illegally, Belfort would not have asked for his

   license and registration, arrested him and caused him to be deported.

          275.      As the direct and proximate result of Belfort’s illegally detaining Moises and

   violating his Fourth, Fifth and Fourteenth Amendment rights under the U.S. Constitution, Moises

   was painfully and excruciatingly handcuffed behind his back over seven and a half, suffers

   permanent pain in his shoulders and arms as a result, was deported and now earns significantly

   less in Honduras than he did in the U.S.

          276.      Moises is entitled to damages, including punitive damages, compensatory

   damages, actual damages, economic damages, damages for pain and suffering, nominal damages,

   reasonable attorney fees and court costs, and/or any other remedies the court deems appropriate.

                                                Count 13
                                               BATTERY
                         State tort claim: Plaintiff Moises v. Defendant Belfort

          277.      Plaintiff re-alleges and incorporates by reference paragraphs 1 through 68.

          278.      Officer Belfort battered Moises on June 9, 2014.

          279.      Because Belfort pulled over Moises on June 9, 2014 without any cause, his arrest

   was unlawful.

          280.      She therefore had no right to detain him, touch him, or place cuffs on him.

          281.      Belfort however did touch him and put cuffs on him, against his will.


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          282.    Belfort knew that she had detained him illegally, for the purpose of extorting

   money from his family.

          283.    Belfort intentionally made physical contact with Moises by, for example,

   removing him from her police car, placing him in the police car, cuffing him to a bench, and

   removing the cuffs once he was at TGK.

          284.    This contact was harmful and offensive.

          285.    Keeping Moises in cuffs for over seven and a half hours was excruciatingly

   painful, caused his arms and shoulders to become numb at the time, and caused Moises to suffer

   ongoing, permanent pain in his arms and shoulders.

          286.    Moises did not have chronic pain in his shoulders and arms prior to June 9, 2014.

          287.    Moises is entitled to damages, including punitive damages, compensatory

   damages, actual damages, damages for pain and suffering, nominal damages, reasonable attorney

   fees and court costs, and/or any other remedies the court deems appropriate.

                                              Count 14
                                     FALSE IMPRISONMENT
                       State tort claim: Plaintiff Moises v. Defendant Belfort

          288.    Plaintiff re-alleges and incorporates by reference paragraphs 1 through 68.

          289.    Officer Belfort falsely imprisoned Moises on June 9, 2014.

          290.    Because Belfort pulled over Moises on June 9, 2014 without any cause, his arrest

   was unlawful. She therefore had no right to detain him, or to authorize anyone else to detain him.

          291.    Belfort acted against Moises’s will, as Moises had zero desire to be ordered out of

   his car, placed in cuffs and put in the back of a police car. But in doing so, Belfort unlawfully

   restrained Moises and detained him against his will.

          292.    Belfort took these measures maliciously in order to subsequently extort Moises’s

   family for money, in concert with Gonzalez, her accomplice.


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          293.    Moises was terrified when Gonzalez, with Belfort’s encouragement, threatened to

   have Moises deported, ordered him out of the car, cuffed him, and placed him in the back of

   Belfort’s police car.

          294.    Belfort then kept Moises illegally detained in her car for over seven hours, with

   his hands cuffed behind his back.

          295.    This extended false imprisonment caused Moises excruciating pain in his

   shoulders and arms, and also numbness.

          296.    As a result of this false imprisonment, Moises continues to suffer chronic pain in

   his shoulders and arms. Moises did not have chronic pain in his shoulders and arms prior to June

   9, 2014.

          297.    As a result of Belfort’s actions, Moises was deported to Honduras, where his

   wages are significantly less than what he was earning on June 2014. In Miami he was earning

   $5,500 to $6,000 per month installing tile. Now in Honduras he earns $300 per month.

          298.    Moises suffered indignity and humiliation in being falsely imprisoned by Belfort.

          299.    Moises is entitled to damages, including punitive damages, compensatory

   damages, actual damages, economic damages, nominal damages, damages for pain and suffering,

   reasonable attorney fees and court costs, and/or any other remedies the court deems appropriate.

                                         Count 15
         BATTERY, FALSE IMPRISONMENT, USE OF EXCESSIVE FORCE, AND
        VIOLATION OF DUE PROCESS AND SEIZURE RIGHTS UNDER FLORIDA
                   CONSTITUTION ARTICLE I, SECTIONS 9 AND 12
            Florida Tort Claims Act: Plaintiff Moises v. Defendant City of Miami

          300.    Plaintiff re-alleges and incorporates by reference paragraphs 1 through 68.

          301.    On June 9, 2014, Officer Belfort was an employee of the City of Miami, a

   municipal corporation.




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          302.    Officer Belfort was on duty and acting within the scope of her employment when

   she detained Moises that day.

          303.    Regardless of her subjective intent (i.e., to extort money or not extort money),

   Belfort pulled Moises over without cause.

          304.    Moises had not changed lanes improperly, had not nearly caused an accident, did

   not have the wrong tag on his vehicle, and was committing no other visible infraction.

          305.    Belfort stopped Moises without cause and thus detained him illegally.

          306.    Had Belfort not pulled him over (i.e., without cause), she would not have

   discovered that he was driving without a valid license, and would have had no basis to arrest

   him, and have him cuffed and placed in the rear of her police vehicle.

          307.    However, after she made the illegal stop at 7:30 a.m., Belfort learned that Moises

   lacked a valid driver license, which is a second degree misdemeanor.

          308.    On this basis she arrested Moises at 7:45 a.m. See Ex. B, Arrest Affidavit.

          309.    Although the original stop was without cause and illegal, her arrest of Moises was

   motivated, at least in part, by a purpose to serve the principal, the City of Miami Police

   Department.

          310.    Between 7:45 a.m. (the actual time of the arrest, pursuant to the arrest affidavit)

   and approximately 4:15 p.m. Moises remained under Belfort’s control.

          311.    In her control, Moises was cuffed behind his back, and placed in her police

   vehicle.

          312.    Shortly after detaining him, Belfort took Moises to the downtown police station,

   and placed him in a holding cell for approximately fifteen minutes.




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          313.    Belfort then placed him back in cuffs, hands behind his back, and put him back in

   her police vehicle.

          314.    Belfort subsequently took him inside a second police station, for approximately

   ten minutes, where he was cuffed to a bench.

          315.    Belfort then re-cuffed him with hands behind his back and placed Moises back in

   her police vehicle.

          316.    Belfort then continued to drive Moises around this way until she took him to TGK

   at approximately 4:15 p.m.

          317.    Regulations require that prisoners be cuffed behind their backs during transport.

   See, e.g., Ex. C, Departmental Order 16.4.2.

          318.    Transporting prisoners to a stationhouse or jail permits the prisoner to remain in

   custody without being handcuffed behind his or her back.

          319.    Having his hands cuffed behind his back for over seven and a half hours was

   excruciatingly painful for Moises.

          320.    Moises’s arms and shoulders became numb.

          321.    Keeping Moises cuffed behind his back for over seven and a half hours was

   unnecessary and excessive.

          322.    Moises had no violent priors.

          323.    City of Miami police departmental orders require that prisoners be transported

   directly to a police station or a Miami-Dade Jail or holding facility. Id. at 16.4.21.2. If there is a

   delay in transporting to the jail or police station, or another destination is involved, supervisory

   approval is required. Id.




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            324.   Belfort could have left Moises at a police station in a holding cell, where he

   would not have been cuffed behind his back.

            325.   Belfort could have taken him directly to TGK, where he would not have been

   cuffed behind his back.

            326.   Instead, Belfort ignored departmental orders and drove him around for hours and

   hours.

            327.   It is believed that no supervisor signed off on Belfort’s keeping Moises in her

   police car for any extended period of time.

            328.   Keeping Moises cuffed behind his back for over seven and a half hours

   constituted excessive force. Belfort used more force than necessary to detain Moises during the

   over seven and a half hours he was cuffed behind his back.

            329.   This level of restraint was unreasonable and not only subjected Moises to

   unnecessary risk of harm but permanently harmed him.

            330.   Moises had no pain in his shoulders and arms prior to June 9, 2014 but has

   chronic, strong pains in his shoulders and arms since that day.

            331.   The level of restraint Belfort continually subjected Moises to for over seven and a

   half hours was unreasonable and not warranted by circumstances.

            332.   Moises did not consent to being detained, touched, and handcuffed by Belfort.

            333.   Moises was falsely imprisoned and battered from the moment Belfort illegally

   stopped him, and his rights were additionally violated under Article I, Sections 9 and 12 of the

   Florida Constitution, in that he was illegally seized, without due process.




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          334.    If Belfort’s stop is found to be legal, then keeping him cuffed behind his back for

   over seven and a half hours nevertheless constitutes battery and excessive force, and his due

   process rights were also thereby violated under Article I, Section 9 of the Florida Constitution.

          335.    Belfort further violated Moises’s due process rights under Article I, Section 9 of

   the Florida Constitution by prohibiting Moises from using a toilet, despite his repeated requests

   over many hours, and by failing to feed him.

          336.    Her keeping him in her car for so long without access to a bathroom and food was

   cruel and inhumane.

          337.    City of Miami police department order 16.4.21.7 (valid through October 2013)

   states that “Stopping for prisoners to use toilet facilities or to eat is prohibited unless approved by

   a supervisor. Then, the facility will be chosen at random with security of the prisoner in mind.”

   See Ex. D, Departmental Orders.

          338.    Had Belfort dropped off Moises at TGK or kept him at a police station, Moises

   would have had access to a restroom, and lunch.

          339.    Instead Belfort ignored his repeated requests, in English, to use the bathroom and

   made no attempt to get a supervisor’s permission to take Moises to an external restroom or food

   vendor.

          340.    Belfort’s extended false imprisonment, battery, and excessive force caused

   Moises excruciating pain in his shoulders and arms, and also numbness.

          341.    As a result of this false imprisonment, Moises continues to suffer chronic pain in

   his shoulders and arms.

          342.    Moises did not have chronic pain in his shoulders and arms prior to June 9, 2014.




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          343.    As a result of Belfort’s false imprisoning Moises, Moises was deported to

   Honduras, where his wages are significantly less than what he was earning at the time of his

   arrest on June 9, 2014. In Miami he was earning $5,500 to $6,000 per month installing marble

   and tile. Now in Honduras he earns $300 per month.

          344.    Moises suffered indignity and humiliation in being falsely imprisoned and

   battered by Belfort, and by not being fed and allowed to use a toilet.

          345.    In September 2014, pursuant to § 768.28, Fla. Stat., attorney John De Leon

   mailed to the City of Miami mayor and chief of police copies of a Notice of Intent to File a

   Claim on behalf of Moises against Officer Belfort and the City of Miami police department. See

   Ex. H, Notice of Intent to File a Claim.

          346.    U.S. postal records indicate the notices were received. See Ex. H, U.S. Postal

   Delivery Confirmations.

          347.    Moises is entitled to damages, including compensatory damages, actual damages,

   nominal damages, economic damages, damages for pain and suffering, reasonable attorney fees

   and court costs, and/or any other remedies the court deems appropriate.

                                    DEMAND FOR JURY TRIAL

          Plaintiffs demand a trial by jury on all counts and all issues triable as of right.

                             DESIGNATION OF EMAIL ADDRESSES

          Pursuant to Florida Rule of Judicial Administration 2.516, undersigned attorneys

   designate the following email addresses for service of all documents required to be served in this

   proceeding:

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          joshtarjan@gmail.com            (secondary)




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         Dated this 7th day of June, 2018.

         Respectfully submitted,

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                     City of Miami Police Department
                           Departmental Orders
                               (Current through October 2013)

                             Master Table of Contents

      1. Office of the Chief

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      3. Special Investigations Section

      4. Communications Section

      5. Support Services Section

      6. Personnel Resource Management Section

      7. Community Relations Section

      8. Business Management Section

      9. Criminal Investigations Section

      10. Office of Emer. Mgmt. & Homeland Security

      11. Patrol

      12. Specialized Operation Section

      13. Information Technology Support Section

      14. Property Section

      16. Social Media – Social Networking
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                                                                                    Departmental Order 11
                                                                                              Chapter 16


        The following steps shall be followed:

        1.   Miranda warnings are required and shall be administered prior to “custodial interrogation.”

        2. Miranda warnings shall be read by officers from the card containing this information to all
        persons subjected to custodial interrogation.

        3. Officers shall ensure that suspects understand their right to remain silent and their right to an
        attorney. Suspects may be interrogated only when they have knowingly and intelligently waived
        their rights. Threats, false promises or coercion to induce suspect statements is prohibited.

             a. Waivers of one or both of the Miranda rights must be understood clearly by the suspect.
             b. Oral waivers are often sufficient but written waivers, particularly in felony charges, are
             preferred and should be obtained whenever possible on the appropriate form.

        4. When a suspect invokes his right to remain silent, all interrogation shall terminate
        immediately.

        5. Officers may interrogate a suspect who has previously invoked his right to silence, if, after the
        passage of time, the suspect initiates communication with officers. However, prior to questioning,
        Miranda warnings shall be re-administered and a waiver obtained.

        6. Officers shall cooperate in any reasonable way with efforts by suspects to contact or meet
        with council.

        7. The circumstances surrounding the conduct of interrogations and recording of confessions
        shall be documented.

        8. The lead investigative officer may decide in which cases audio or video tape recordings may
        be appropriate and whether covert or overt procedures may be used.

16.4 PROCEDURES: When a felony or misdemeanor arrest is made, the arresting officer shall:

16.4.1 Establish probable cause for the arrest.

16.4.2 All prisoners will be handcuffed with their hands behind their backs before transporting. Any
deviation must be approved by a supervisor or commanding officer.

16.4.3 Once a prisoner has been handcuffed, the following search procedures will be adhered to:

16.4.3.1 Prisoners shall be thoroughly searched by an officer of the same sex immediately following
the arrest.

16.4.3.2 If a same sex officer is not available, an opposite sex officer, through necessity, may conduct
a cursory pat down type search (witness should be present) for weapons or evidence.

16.4.3.3 If the arresting officer is not completely satisfied with the cursory search, the prisoner shall
be handcuffed, hands behind back, and transported to the nearest station where a thorough search will
be conducted.

16.4.3.4     Officers may search a prisoner's handbag or other items in their possession at the time of
arrest.



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16.4.20.7 An original arrest report for the escapee(s) will be available in the Warrant Management
Detail until a Circuit Court Judge signs the warrant, should the escapee be arrested on probable cause.

16.4.21 Transportation of Prisoners: Officers must adequately provide for the safe and secure
transportation of prisoners, and in addition will adhere to the following procedures:

16.4.21.1     Officers must search prisoners prior to placing a prisoner in a police vehicle. It cannot be
assumed that a prisoner is free of weapons or contraband, even if previously searched. The
responsibility for the search is incumbent on the officer who places the prisoner in the police vehicle.

16.4.21.2       Prisoners will be transported directly to a police station or a Miami-Dade Jail or holding
facility. If there is a delay in transporting, or another destination, supervisory approval is required.

16.4.21.3 Vehicles used to transport prisoners are to be inspected at the beginning of each tour of
duty to ensure that the vehicle is safe to operate and is properly equipped.

16.4.21.4       Officers are required to search the transport vehicle before and after transporting
prisoners.

16.4.21.4.1 All vehicles used for transporting prisoners must have the driver separated from the
prisoner by a clear safety barrier, which prevents the prisoner from having access to the driver's
compartment.

16.4.21.4.2 Each patrol vehicle used for transporting prisoners must have the window cranks and door
handles removed from the rear compartment. The door release locks should operate from the front
compartment or from the outside of the vehicle. This would minimize the opportunity for the prisoner to
exit from the rear compartment.

16.4.21.5       Officers transporting prisoners will remain alert for violent behavior, illness, or attempts to
escape.

16.4.21.6       If vehicles without cages are used to transport, the officer shall:

16.4.21.6.1 Place the prisoner in the right rear seat.

16.4.21.6.2 Position one officer in the rear seat with the prisoner.

16.4.21.7 Officers must not lose sight of prisoners while transporting. Stopping for prisoners to use
toilet facilities or to eat is prohibited unless approved by a supervisor. Then, the facility will be chosen
at random with security of the prisoner in mind.

16.4.21.8 Transporting officers will stop to respond to the need for law enforcement services only
when the risk to third parties is both clear and grave, and the risk of injury to the prisoner or opportunity
of escape is minimal.

16.4.21.9 Transporting officers may allow prisoners to talk to anyone as long as there are no safety or
security concerns.

16.4.21.10 Prisoners will be transported by officers of the same sex whenever practicable.

16.4.21.11       When a prisoner must be transported by an officer of the opposite sex, the transporting
officer will:



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https://www2.miami-dadeclerk.com/Public-Records/PrintDocument.aspx?QS=YaoUfOzxry1loyie9lxeXO%2fyS7mcIabmsu4INncwKl96%2fdD3ayGEGUy50aUhyJ80
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